         Case 19-06512-jw      Doc 12  Filed 12/20/19 Entered 12/20/19 10:39:27              Desc Main
                                       Document      Page 1 of 6
                                 UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF SOUTH CAROLINA


IN RE:                                            CASE NO: 19-06512

Debtor                                            CHAPTER 13
Brian James MacDonald
XXX-XX-9725

5718 Captain Kidd Road
Hollywood, SC 29449

                                NOTICE OF OPPORTUNITY TO OBJECT

       The debtor in the above captioned case filed a chapter 13 plan on December 19, 2019. The plan is
attached.

       Your rights may be affected by the plan. You should read the plan carefully and discuss it with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult one.)

        Any objection to confirmation of the chapter 13 plan must be in writing filed with the Court at 1100
Laurel Street, Columbia, SC 29201-2423 and served on the chapter 13 trustee, the debtor(s), and any attorney
for the debtor(s) no later than 21 days after the service of the chapter 13 plan, as computed under Fed. R. Bankr.
P. 9006(a). Objections to confirmation may be overruled if filed late or the objecting party fails to appear and
prosecute the objection. If no objection is timely filed, the plan may be confirmed by the Court without further
notice.

       If you file an objection, you or your attorney must attend the hearing scheduled by the court on
confirmation of the plan. Notice of the confirmation hearing is provided in section 9 of the Notice of Chapter
13 Bankruptcy Case. However, the Court may set an earlier status hearing on any objection upon notice to the
applicable parties.

        If you or your attorney do not take these steps, the court may determine that you do not oppose the
terms or relief sought in the plan and may enter an order confirming the plan.

                                                FREEMAN|WINE, LLC

Date: December 19, 2019
                                                /s/ Wendi M. Freeman
                                                Wendi M. Freeman, District ID #5336
                                                1040 eWall Street
                                                Mt. Pleasant, SC 29464
                                                843-849-1900 t
                                                843-849-1903 f
                                                wendi@freemanwine.com
            Case 19-06512-jw                   Doc 12          Filed 12/20/19 Entered 12/20/19 10:39:27                        Desc Main
                                                               Document      Page 2 of 6
 Debtor Brian James MacDonald______________________                                                            Case Number 19-06512
                                                                                                                ☐ Check if this is a modified
Fill in this information to identify your case:
                                                                                                                    plan, and list below the
                                                                                                                    sections of the plan that have
Debtor                                                                                                              been changed.
Brian James MacDonald
XXX-XX-9725                                                                                                     ☐      Pre-confirmation modification

                                                                                                                ☐      Post-confirmation modification
                                                                                                                _________________________________
United States Bankruptcy Court for the: District of South Carolina                                              _________________________________
Case number:   19-06512
                                                                                                                _________________________________

                                                                                                                _________________________________




 District of South Carolina
 Chapter 13 Plan                                                                                                                                    12/17


 Part 1:     Notices

 To Debtors:       This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                   indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                   Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                   In the following notice to creditors, you must check each box that applies.

 To Creditors:     Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                   You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                   have an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the
                   relief requested in this document.
                   If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file a timely objection to
                   confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or applicable
                   Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                   is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure 3002, you must file a timely proof of
                   claim in order to be paid under any plan. Confirmation of this plan does not bar a party in interest from objecting to a claim.
                   The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                   includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                   be ineffective if set out later in the plan.


   1.1     A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial             ☐ Included      ☒ Not included
           payment or no payment at all to the secured creditor

   1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in              ☐ Included      ☒ Not included
           Section 3.4

   1.3     Nonstandard provisions, set out in Part 8                                                                   ☒ Included      ☐ Not included

   1.4     Conduit Mortgage Payments: ongoing mortgage payments made by the trustee through plan, set                  ☐ Included      ☒ Not included
           out in Section 3.1(c) and in Part 8




 District of South Carolina                                                                                                                       Page 1
 Effective May 1, 2019                                               Chapter 13 Plan
           Case 19-06512-jw                Doc 12         Filed 12/20/19 Entered 12/20/19 10:39:27                                Desc Main
                                                          Document      Page 3 of 6
Debtor Brian James MacDonald______________________                                                               Case Number 19-06512
Part 2:    Plan Payments and Length of Plan

2.1 The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary for the
     execution of the plan.
     Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
     follows:

      $ 2,450.00 per month for 57 months.
The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to the
plan. The stipulation is effective upon filing with the Court.
Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner:

     Check all that apply.
     ☐The debtor will make payments pursuant to a payroll deduction order.
     ☐ The debtor will make payments directly to the trustee.
     ☒ Other (specify method of payment):__TFS_________________.
2.3 Income tax refunds.

     Check one.
     ☒The debtor will retain any income tax refunds received during the plan term.
     ☐The debtor will treat income tax refunds as follows:
           ____________________________________________________________________________________________________
2.4 Additional payments.

     Check one.
     ☒None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
Part 3:    Treatment of Secured Claims
To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official
Rules and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan.
However, if a claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely
amended, shall be treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from
the protection of the automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13
trustee on account of any secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed
from the protection of the automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not
apply if the sole reason for its application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a
creditor, but pursuant to these provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by
these provisions and who has filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable
time after the removal of the property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may
continue sending standard payment and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a
violation of the automatic stay.

3.1 Maintenance of payments and cure or waiver of default, if any.
     Check all that apply. Only relevant sections need to be reproduced.
     ☐    None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security and modification of undersecured claims. Check one.

 ☒ None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
3.3 Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.
     Check one.
 ☒       None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
3.4 Lien avoidance.
     Check one.
    ☒ None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
District of South Carolina                                                                                                                           Page 2
Effective May 1, 2019                                   Chapter 13 Plan
           Case 19-06512-jw                 Doc 12         Filed 12/20/19 Entered 12/20/19 10:39:27                               Desc Main
                                                           Document      Page 4 of 6
Debtor Brian James MacDonald______________________                                                               Case Number 19-06512

3.5 Surrender of collateral.
     Check one.
 ☒ None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4:    Treatment of Fees and Priority Claims

4.1 General

The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular payments
on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the Court.
Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
postpetition interest.
4.2 Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3 Attorney’s fees

          a.     The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure
                 statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                 disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                 disburse a dollar amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the balance of
                 the attorney’s compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining each month after
                 payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In instances where an
                 attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be entered by the Court,
                 without further notice, which allows for the payment of a portion of the attorney’s fees in advance of payments to creditors.
          b.     If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                 applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held in
                 trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has received
                 $______ and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $_______ or less.

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
     The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a pro rata
     basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further amendment of the plan.
     Check box below if there is a Domestic Support Obligation.
     ☐ Domestic Support Claims. 11 U.S.C. § 507(a)(1):

           a.     Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (name of DSO recipient), at the
                  rate of $_________ or more per month until the balance, without interest, is paid in full. Add additional creditors as needed.
           b.     The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis directly to the
                  creditor.
           c.     Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those obligations from property
                  that is not property of the estate or with respect to the withholding of income that is property of the estate or property of the debtor for
                  payment of a domestic support obligation under a judicial or administrative order or a statute.


4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
     Check one.
     ☒ None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
Part 5:         Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified. Check one.

     Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
     available after payment of all other allowed claims.

 ☐ The debtor estimates payments of less than 100% of claims.
 ☐ The debtor proposes payment of 100% of claims.
  ☒ The debtor proposes payment of 100% of claims plus interest at the rate of 6.25%.

District of South Carolina                                                                                                                           Page 3
Effective May 1, 2019                                          Chapter 13 Plan
          Case 19-06512-jw                  Doc 12        Filed 12/20/19 Entered 12/20/19 10:39:27                               Desc Main
                                                          Document      Page 5 of 6
Debtor Brian James MacDonald______________________                                                               Case Number 19-06512
5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

     ☐ None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
     ☐ The debtor will maintain the contractual installment payments and cure, through the trustee, any prepetition default in payments on
the unsecured claims listed below.

     Name of creditor                      Current installment payment              Estimated amount of arrearage             Monthly payment
                                           (paid by the debtor)                     through month of filing or                on arrearage to be
                                                                                    conversion                                disbursed by the
                                                                                                                              trustee

     __________________________            $ ____________________                   $ ____________________                    $________________

                                                                                                                              (or more)
     Insert additional claims as needed.



5.3 Other separately classified nonpriority unsecured claims. Check one.

     ☒ None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6:    Executory Contracts and Unexpired Leases


6.1 ntracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and unexpired
     leases are rejected. Check one.

     ☒ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
 ☐ Assumed items. Current installment payments will be disbursed directly by the debtor, as specified below, subject to any contrary court order
or rule. Prepetition arrearage payments will be disbursed by the trustee unless otherwise ordered.
Name of creditor                  Description of leased              Current installment         Estimated amount of         Estimated monthly payment
                                  property or executory              payment                     arrearage through           on arrearage to be
                                  contract                                                       month of filing or          disbursed by the trustee
                                                                                                 conversion
________________________          _________________________          $___________                $_____________              $____________________


                                                                                                                              (or more)
Insert additional claims as needed.
Part 7:    Vesting of Property of the Estate


7.1 Property of the estate will vest in the debtor as stated below:
     Check the applicable box:
    ☒Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall remain
          with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate. The debtor is
          responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the plan is intended to
          waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by the debtor.
    ☐      Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective only if
          the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.
Part 8:    Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions

     ☐ None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in this
form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.


District of South Carolina                                                                                                                           Page 4
Effective May 1, 2019                                         Chapter 13 Plan
          Case 19-06512-jw              Doc 12         Filed 12/20/19 Entered 12/20/19 10:39:27                           Desc Main
                                                       Document      Page 6 of 6
Debtor Brian James MacDonald______________________                                                        Case Number 19-06512
Statement in support of confirmation:

Debtor understands the following: (1) The obligations set forth in the plan, including the amount, method, and timing of
payments made to the Trustee or directly to creditors; (2) The consequences of any default under the Plan; and (3) That
debtor(s) may not agree to sell or sell property, employ professionals, incur debt (including modification of debt), or request
or agree to mortgage modification or other loss mitigation during the pendency of the case without the advance authorization
of the Bankruptcy Court.

Reservations of rights:

Confirmation of this plan does not bar a party in interest from any actions discovered from the documentation, or lack
thereof, in a proof of claim. The debtor specifically reserves any currently undiscovered or future claims, rights or cause of
action the debtor may have, regarding any issues not specifically addressed or determined by the plan, against any creditor
or other party in interest including, but not limited to, violations of applicable consumer protections codes and actions under
11 U.S.C. §§ 542, 543, 544, 547 and 548.

Confirmed Plan vs. Proof of Claim:

The confirmation of this plan may determine the character (secured, unsecured, or priority), amount and timing of distribution
of a creditor’s claim regardless of the proof of claim filed. If a creditor objects to a claim’s treatment under the plan, the
creditor must timely object to confirmation.



Part 9:    Signature(s)


9.1 Signatures of the debtor and the debtor’s attorney




Date: December 20, 2019                                              /s/ Brian James MacDonald
                                                                     Debtor: Brian James MacDonald


                                                                     FREEMAN|WINE, LLC
                                                                     Attorneys for Debtor(s)


Date: December 20, 2019                                              By: /s/ Wendi M. Freeman
                                                                     Freeman|Wine, LLC
                                                                     Wendi M. Freeman
                                                                     District Court I.D. 5336
                                                                     1040 eWall Street
                                                                     Mt. Pleasant, SC 29464
                                                                     wendi@freemanwine.com

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




District of South Carolina                                                                                                                     Page 5
Effective May 1, 2019                                      Chapter 13 Plan
